                                     17 Filed 12/07/21
 Case 3:21-cv-15310-FLW-TJB Document 29       11/01/21 Page 1 of 1 PageID: 405
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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


After II Movie LLC, et al.              APPLICATION FOR EXTENSION OF TIME TO
                                        ANSWER,
                                        OPPOSE      MOVE,
                                                 MOTION     TOOR   OTHERWISE
                                                               DISMISS OR FILE REPLY
                                                                               AMENDED COMPLAINT
                                        [Local Civil rule
                                        L.Civ.R. 7.1(d)(5) 6.1(b)]
                  Plaintiff(s)

         v.                                    Civil Action No. 3-21-cv-15310
                                                                ________________
RCN Telecom Services, LLC, et al.

                  Defendant(s)



                                                                                          Plaintiffs
       Application is hereby made for a Clerk’s Order extending time within which defendant(s)
______________________________________________________________________________
                                    After II Movie LLC, et al.
may answer,
     oppose move, or otherwise reply to the Complaint    filed byfiled
                                              Motion to Dismiss    plaintiff(s) herein and it is
                                                                       by Defendants
represented that:
    1. No previous extension has been obtained; to oppose this Motion to Dismiss;
    2. The
       Service of Process
           Motion         was
                  to Dismiss waseffected
                                 filed on on___________;
                                            November
                                          October 19, 2021  andand,
                                                       29, 2021
               Oppose Move or otherwise Reply expires on December
    3. Time to Answer,                                          __________.
                                                                November 20, 2021,and
                                                                         1, 2021,  andisisextended
                                                                                           extendedto to January 15,
                                                                                                      November   3,
                                                                 2021.
                                                                2022.
                                                                      _______________________
                                                                      Attorney for efendant(s)
                                                                       7 Dumont Place Morristown NJ 07960
                                                                      _______________________
                                                                      Mailin Address
                                                                         mcukor@mcgearycukor.com
                                                                     __________________________________
                                                                     City, tate, ip Code




                                               ORDER
    The above application is ORDERED GRANTED. efendant(s) time to answer, move or
 otherwise reply is extended to _____________.
 ORDER DATED: _______________

                                                     WILLIAM T. WALSH, Clerk
                                                      y:_________________________
